                Case 1:17-cv-03619-MHC-LTW Document 7 Filed 11/03/17 Page 1 of 3




                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION


             TROY BARBER,                                    PRISONER CIVIL RIGHTS
                   Plaintiff,                               42 u.s.c. § 1983


                   V.




             JERRY CONNER,                                   CIVIL ACTION NO.
                   Defendant.                                1: l 7-CV-3619-MHC-LTW


                                                    ORDER


                   Plaintiff is a Fulton County Jail inmate who, pro se, seeks reliefunder42 U.S.C.


             § 1983. (Doc. 1.) The Court adopted the undersigned's Report and Recommendation


             and allowed Plaintiffs First Amendment Free Exercise claim to proceed against


             Defendant Jerry Conner, the chaplain at the jail.   (Docs. 4, 6.) By this Order, the


             Court will notify Defendant of the suit and request him to waive service of process.


                   The Court DIRECTS the Clerk to send Plaintiff a USM 285 form and summons


             for Defendant. The Court DIRECTS Plaintiff to complete the USM 285 form and


             summons and to return those documents to the Clerk within   thirty (30) days from the

             date of this Order. Plaintiffs failure to comply in a timely manner could result in


             dismissal of this action. The Court DIRECTS the Clerk to resubmit this action to the


             undersigned if Plaintiff fails to comply.




A072A
(Rev.8/82)
               Case 1:17-cv-03619-MHC-LTW Document 7 Filed 11/03/17 Page 2 of 3




                   The Court DIRECTS the Clerk, upon receipt of the forms, to prepare a service

             waiver package for Defendant. The service waiver package must include two Notices

             of Lawsuit and Request for Waiver of Service of Summons (prepared by the Clerk);

             two Waiver of Service of Summons forms (prepared by the Clerk); an envelope

             addressed to tl}e Clerk with adequate first-class postage for Defendant's use in

             returning the waiver form; one copy of the complaint [l]; one copy of the Court's

             October 31, 2017 Order [6]; and one copy of this Order. The Clerk shall retain the

             USM 285 form and summons.

                   The Court DIRECTS the Clerk to complete the lower portion of the Notice of

             Lawsuit and Request for Waiver form and to mail a service waiver package to

             Defendant. Defendant has a duty to avoid unnecessary costs of serving process. If

             Defendant fails to comply with the request for waiver of service, he must bear the

             costs of personal service unless good cause can be shown for failure to waive service.

                   If Defendant does not return an executed Waiver of Service form to the Clerk

             within thirty-five (35) days following the date the service waiver package is mailed,

             the Court DIRECTS the Clerk to prepare and transmit to the U.S. Marshals Service

             a service package for Defendant. The service package must include the USM 285

             form, the summons, and a copy of the complaint [1]. Upon receipt of the service

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AO 72A
(Rev.8/82)
                Case 1:17-cv-03619-MHC-LTW Document 7 Filed 11/03/17 Page 3 of 3




             package, the U.S. Marshals Service is DIRECTED to personally serve Defendant in


             accordance with Federal Rule ofCivil Procedure 4. The executed waiver form or the


             completed USM 285 form shall be filed with the Clerk.


                   The Court DIRECTS Plaintiff to promptly notify the Court and Defendant of


             any change in his address while this action is pending. Failure to do so may result in


             dismissal of this action.


                   Finally, prisoner civil rights cases are automatically assigned to a zero-month


             discovery track. If any party determines that discovery is required, that party must,


             within thirty days after the first appearance ofa defendant by answer, file a motion


             requesting a discovery period.


                   SO ORDERED this       �     day of---=-+...
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                                                                    LKER
                                                                    ES MAGISTRATE JUDGE




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